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                              UNITED STATES DISTRICT COURT
  16                        SOUTHERN DISTRICT OF CALIFORNIA
  17
       Al Otro Lado, Inc., et al.,                  Case No.: 17-cv-02366-BAS-KSC
  18

  19
                          Plaintiffs,
                                                    PLAINTIFFS’ NOTICE OF
  20            v.                                  MOTION AND MOTION FOR
                                                    SUMMARY JUDGMENT
  21   Chad F. Wolf,1 et al.,
                                                    Special Briefing Schedule Ordered (See
  22                      Defendants.               Dkt. 518)
  23
                                                    NO ORAL ARGUMENT UNLESS
  24                                                REQUESTED BY THE COURT
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       1
  28    Acting Secretary Wolf is automatically substituted for former Acting Secretary
       McAleenan pursuant to Fed. R. Civ. P. 25(d).
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                                                      PLFS’ MOT. AND NOTICE OF MOT. FOR
                                                                   SUMMARY JUDGMENT
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   1      PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT AND NOTICE
   2                                       THEREOF
   3         PLEASE TAKE NOTICE that, on Friday, September 4, Plaintiffs will and
   4   hereby do move this Court for an order pursuant to Federal Rule of Civil Procedure
   5   56 granting Plaintiffs’ request for summary judgment. This motion is based on the
   6   attached memorandum of points and authorities and the Declaration of Stephen M.
   7   Medlock, executed on September 4, 2020, with accompanying exhibits.
   8         PLEASE TAKE FURTHER NOTICE that pursuant to the Court’s Scheduling
   9   Order dated August 11, 2020 (Dkt. 518), Defendants’ opposition to Plaintiffs’ motion
  10   shall be filed no later than September 25, 2020. Plaintiffs’ reply in further support
  11   of this motion shall be filed no later than October 30, 2020.
  12
       Dated: September 4, 2020                     MAYER BROWN LLP
  13                                                   Matthew H. Marmolejo
                                                       Ori Lev
  14                                                   Stephen M. Medlock
  15
                                                     SOUTHERN POVERTY LAW
  16                                                 CENTER
                                                       Melissa Crow
  17                                                   Sarah Rich
  18                                                   Rebecca Cassler

  19                                                 CENTER FOR CONSTITUTIONAL
  20
                                                     RIGHTS
                                                        Baher Azmy
  21                                                    Ghita Schwarz
                                                        Angelo Guisado
  22

  23                                                 AMERICAN IMMIGRATION
                                                     COUNCIL
  24                                                   Karolina Walters
  25
                                                     By: /s/ Stephen M. Medlock
  26
                                                          Stephen M. Medlock
  27
                                                     Attorneys for Plaintiffs
  28
                                                1            PLFS’ MOT. AND NOTICE OF MOT. FOR
                                                                          SUMMARY JUDGMENT
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   1                             CERTIFICATE OF SERVICE
   2         I certify that on September 4, 2020, I served a copy of the foregoing document
   3   by filing it with the Clerk of Court through the CM/ECF system, which will provide
   4   electronic notice and an electronic link to this document to all attorneys of record.
   5                                                        /s/ Stephen M. Medlock
   6
                                                            Counsel for Plaintiffs
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                                                2          PLFS’ MOT. AND NOTICE OF MOT. FOR
                                                                        SUMMARY JUDGMENT
